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                                UNITED STATES DISTRICT COURT
18                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
19

20                                                    Case No. 3:23-cv-02880-JSC
21 FEDERAL TRADE COMMISSION
                                                      DEFENDANTS’ MEMORANDUM OF
22                  Plaintiff,                        LAW IN OPPOSITION TO MOTION
                                                      FOR PRELIMINARY INJUNCTION
23          v.
                                                      Hon. Jacqueline Scott Corley
24
   MICROSOFT CORPORATION and
                                                      Date: June 22, 2023
25 ACTIVISION BLIZZARD, INC.,
                                                      Time: 8:30 a.m.
               Defendants.                            Courtroom: 8 – 19th Floor
26
27

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 1                                            INTRODUCTION
 2          Seventeen months ago, Microsoft Corporation, the third-place manufacturer of video game
 3 consoles, announced an agreement to purchase Activision Blizzard, Inc., one of many video game

 4 publishers. Microsoft’s motivations are simple. Its gaming division (Xbox) has next to no presence

 5 in mobile gaming, the fastest-growing gaming segment where 94% of gamers spend time today. By

 6 contrast, Activision’s King division makes popular mobile games (such as Candy Crush), allowing

 7 Xbox to compete in this critical market.

 8                                                                           . Activision publishes several
 9 popular video game franchises, including Call of Duty (“COD”), which are profitable precisely

10 because they generate sales on many different platforms. Indeed, the majority of COD sales—a

11 significant part of Activision’s revenues—occur on Sony’s PlayStation, the dominant console that

12 routinely outsells the Xbox console 2:1.

13          The FTC has never persuaded a court to preliminarily enjoin a merger involving anything
14 close to the facts here. Unlike in other merger contexts, the government gets no presumption of

15 harm as to vertical mergers because they do not eliminate a competitor from the marketplace and are

16 widely recognized to be procompetitive. The U.S. antitrust agencies have rarely sought to enjoin

17 vertical mergers and have lost every recent case when they tried. Indeed, the FTC is asking this

18 Court to be the first in decades to find a vertical merger unlawful.
19          Moreover, unlike in every recent vertical merger case, the Court need not just rely on the
20 defendants’ claims that they will not foreclose their rivals and that the merger will increase output

21 and lower prices. This is the exceptional case where the Court can rely on actions rather than words.

22 Microsoft’s valuation of the deal was premised on making Activision’s limited portfolio of popular

23 games more accessible. And since the transaction was announced, Microsoft has sought to address

24 any concerns that might be raised about the deal. Here is what Microsoft has done:

25          •   Committed to bring Activision’s games to Xbox Game Pass, a subscription gaming
                service offering numerous games for $9.99 per month, rather than up to $70 per game;
26
            •   Signed a binding contract to bring COD to Nintendo (which does not currently have it);
27
            •   Offered Valve, the popular digital PC game distributor, a ten-year deal for Activision
28              content, which Valve declined
 1

 2
            •   Signed contracts to make Activision games available on leading services that “stream”
 3              popular games to devices of consumers’ choosing;
 4          •   Obligated itself, as part of the global regulatory process, to grant streaming rights to
                current and future Activision games to other cloud gaming services, regardless of
 5              whether Xbox decides to stream those games on its own service; and
 6          •   Offered Sony a contract to guarantee access to Activision content on PlayStation for ten
                years, on equal footing with the Xbox console versions,
 7

 8 Microsoft’s actions to try to give COD to anyone who wants it eliminate any conceivable claim of

 9 foreclosure. This deal will make popular content more broadly available and at a lower price.

10          The FTC simply ignores these facts, claiming that it needs to offer only scant proof to stop

11 the transaction. The FTC is wrong. The government has the burden of proof in seeking the

12 “extraordinary and drastic remedy” of “a preliminary injunction prior to a full trial on the merits.”

13 FTC v. Exxon Corp., 636 F.2d 1336, 1343–44 (D.C. Cir. 1980). Because the FTC’s central claim is

14 that Xbox will withhold Activision content from rivals (principally the market leader, Sony), it must

15 also show that the combined firm would have “the ability and incentive” to foreclose competitors.

16 U.S. v. UnitedHealth Grp., 2022 WL 4365867, at *25–27 (D.D.C. 2022). And the FTC must show

17 that such foreclosure “is likely to substantially lessen competition” in a properly pleaded product and

18 geographic market. U.S. v. AT&T, Inc., 916 F.3d 1029, 1032 (D.C. Cir. 2019). On each of these
19 issues, the FTC must show that the evidence “raise[s] questions going to the merits so serious,

20 substantial, difficult and doubtful as to make them fair ground for thorough investigation, study,

21 deliberation and determination.” FTC v. Warner Commc’ns Inc., 742 F.2d 1156, 1162 (9th Cir.

22 1984) (citation omitted).

23          The FTC cannot come close to carrying its burden. After 18 months of investigation and

24 litigation, including 56 investigational hearings and depositions and the production of nearly 6

25 million documents, the FTC offers only a minuscule collection of incomplete quotations in support

26 of its motion. The record will decisively refute the FTC’s claims.
27

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 1 demand, new and established companies are competing fiercely by regularly releasing new games

 2 and continuing to innovate new ways for gamers to play.

 3          Activision is a well-known game developer with popular titles such as COD, Diablo, and
 4 World of Warcraft. But Activision is not the biggest or most successful publisher. Ex. 3, Bailey Rep.

 5 ¶ 29 & ex. 16. And the size and pedigree of a publisher is no guarantee of success. Many popular

 6 games were unexpected breakout successes by small independent studios. Ex. 3, Bailey Rep. ¶ 8.

 7 Many highly anticipated and well-funded games are busts. Ex. 60,                                   .
 8          Gamers can play on many different devices. The three major gaming consoles are the
 9 PlayStation 5, the Nintendo Switch, and the Xbox. But consoles now represent the smallest share of

10 video game revenue. Ex. 2,        ; see Ex. 3, Bailey Rep. ¶ 9. More gamers play on PCs,2 and
11 substantially more play on mobile devices—the fastest growing segment. Ex. 2, at 3; Ex. 3, Bailey

12 Rep. ¶ 9 & ex. 3; see also Ex. 4. As a result, the industry is exploring how to expand beyond the

13 traditional model of selling individual games. Some companies have had great success with free-to-

14 play games, which allow gamers to download the game and then decide whether to make in-game

15 purchases such as costumes or special powers. Free-to-play games have allowed small independent

16 companies to grow quickly. For example, Epic Games’ valuation has increased from $1 billion in

17 2012 to over $30 billion, powered by the 2017 launch of its flagship free-to-play game, Fortnite.

18 Exs. 5, 6. Free-to-play games are a key part of Activision’s strategic vision, and it has successfully
19 launched free-to-play versions of popular games like COD.

20          Innovation is also occurring in distribution. In 2017, Xbox launched Game Pass, a
21 subscription service allowing consumers to play a library of games for $9.99 a month rather than

22 having to purchase each individual title. Xbox invests heavily in Game Pass, making its own new

23 games available in the service immediately upon release (so-called “day and date” releases).

24 Although this means Xbox loses revenue on the sales of individual game titles, Xbox believes that

25 Game Pass will ultimately prompt subscribers to engage with a variety of games and spend more

26
27   2
      Games for PC can be purchased and downloaded from the publisher directly or from an online
     distributor like Steam. Ex. 3, Bailey Rep. ¶¶ 22, 91.
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 1 a similar agreement to Sony that would preserve Sony’s access to the game                             it
 2                  but Sony has refused to deal—instead focusing on trying to derail a transaction that
 3 would strengthen a rival. Xbox offered a ten-year agreement to keep COD on Valve, the popular PC

 4 game platform, but Valve turned down the agreement as unnecessary

 5

 6           Separately, Xbox has entered five separate ten-year agreements with cloud gaming
 7 providers—Boosteroid, EE, Nvidia, NWare, and Ubitus, see Exs. 39–44—to ensure that all Xbox

 8 games, including Activision games, can be played on their services. In addition to those agreements,

 9 during the European Commission’s regulatory process, Xbox committed to grant streaming rights to

10 Activision games to other cloud gaming services—regardless of whether Xbox ultimately decides to

11 stream those games itself. Ex. 45.

12          As a result of these efforts, all but one foreign regulator to pass on the issue has cleared the
13 transaction. The lone exception is the United Kingdom’s CMA. But like the European Commission

14 and other global competition authorities, the CMA rejected the FTC’s core theories of harm here,

15 tied to console foreclosure and subscription service foreclosure. Its only objection to the transaction

16 was that it might harm, at some point in the future, the evolution of cloud gaming. Xbox is currently

17 appealing that decision.

18          This proceeding. After investigating the transaction, the FTC filed an administrative
19 complaint (“FTC Complaint”) on December 8, 2022, alleging that the merger violates Section 7 of

20 the Clayton Act, 15 U.S.C. § 18, and Section 5 of the FTC Act, 15 U.S.C. § 45. See In re Microsoft

21 Corp., FTC Matter No. 2210077, Docket No. 9412 (F.T.C.).

22          The FTC alleges that Xbox will withhold access to Activision games in three “markets”:
23 high-performance consoles, multi-game content library subscription services, and cloud gaming

24 subscription services. Id. ¶¶ 63, 73, 83. The FTC defines the high-performance console market to

25 include only Xbox and Sony, excluding even Nintendo, the second most popular console maker. Id.

26 ¶ 65. The FTC defines the geographic market as the U.S. Id. ¶ 92. The FTC claims this foreclosure
27 “is reasonably likely to substantially lessen competition in the Relevant Markets.” Id. ¶ 118. The

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 1 FTC makes no allegations of harm to competition in any game publishing or distribution market, or

 2 involving PC or mobile gaming.

 3          The administrative hearing on the FTC’s complaint was scheduled to begin on August 2,
 4 2023. See In re Microsoft Corp., FTC Matter No. 2210077, Docket No. 9412 (F.T.C.). On June 12,

 5 2023, the FTC filed this lawsuit seeking to enjoin the transaction until its years-long administrative

 6 process concludes.

 7                                          LEGAL STANDARD
 8 I.       Section 7 of the Clayton Act
 9          The FTC is pursuing only a vertical theory of harm—in other words, it is challenging Xbox’s
10 acquisition of an input, rather than the consolidation of two firms in an area of overlap, such as game

11 publishing. As a result, the burden of persuasion “remains with the government at all times.” U.S. v.

12 Baker Hughes, Inc., 908 F.2d 981, 983 (D.C. Cir. 1990). To satisfy its burden, the FTC must first

13 “define the relevant market,” which in turn requires identifying both “(1) the relevant product market

14 and (2) the relevant geographic market” in which the anticompetitive effects will allegedly occur.

15 FTC v. Meta Platforms Inc., 2023 WL 2346238, at *8 (N.D. Cal. 2023) (citing Brown Shoe Co. v.

16 U.S., 370 U.S. 294, 324 (1962)). If it identifies a proper market, the FTC must then prove that the

17 merger “is likely to substantially lessen competition in the relevant market.” U.S. v. AT&T, Inc., 916

18 F.3d 1029, 1032 (D.C. Cir. 2019) (emphases added).
19 II.      Preliminary Injunction Standard
20          Section 13(b) of the FTC Act authorizes federal district courts to preliminarily enjoin a
21 challenged merger “[u]pon a proper showing that, weighing the equities and considering the

22 Commission’s likelihood of ultimate success, such action would be in the public interest.” 15 U.S.C.

23 § 53(b). This standard requires a court to (1) “determine the likelihood that the [FTC] will ultimately

24 succeed on the merits” and (2) “balance the equities.” Warner, 742 F.2d at 1160.

25          A sufficient likelihood of success requires “more than mere questions or speculations
26 supporting” allegations of anticompetitive conduct. Meta, 2023 WL 2346238, at *8. The FTC meets
27 its burden only by “rais[ing] questions going to the merits so serious, substantial, difficult and

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 1 doubtful as to make them fair ground for thorough investigation, study, deliberation and

 2 determination.” Warner, 742 F.2d at 1162. The Court must exercise “‘independent judgment’ and

 3 evaluat[e] the FTC’s case and evidence on the merits.” FTC v. Meta Platforms, Inc., 2022 WL

 4 16637996, at *5 (N.D. Cal. 2022).

 5          If the FTC can establish a likelihood of success, a court must then weigh the public and
 6 private equities. See FTC v. H.J. Heinz Co., 246 F.3d 708, 726–27 (D.C. Cir. 2001). Public equities

 7 include the merger’s procompetitive benefits. Warner, 742 F.2d at 1165. Harm to the merging

 8 parties if the merger is enjoined—i.e., “private equities”—are also “entitled to serious

 9 consideration.” Id. And in weighing these concerns, a court must keep in mind that the issuance of a

10 preliminary injunction is an “extraordinary and drastic remedy.” Exxon, 636 F.2d at 1343. Thus,

11 even where an injunction may be warranted, any less intrusive alternatives should be considered. Id.

12 at 1344.

13                                              ARGUMENT
14 I.       The FTC Is Unlikely to Prevail on the Merits Because It Cannot Prove a Likely
15          Substantial Lessening of Competition.
16          A.      The FTC Has Failed to Identify a Relevant Antitrust Market.
17          To meet its burden to show a substantial lessening of competition, the FTC first must “define
18 the relevant market” in which anticompetitive effects will occur. FTC v. Qualcomm Inc., 969 F.3d
19 974, 992 (9th Cir. 2020). Courts determine “[t]he outer boundaries of a product market” based on

20 “the reasonable interchangeability of use or the cross-elasticity of demand between the product itself

21 and substitutes for it.” Brown Shoe, 370 U.S. at 325. Within a relevant market, “[p]roducts need not

22 be fungible.” Meta, 2023 WL 2346238, at *9. Rather, the “overarching goal of market definition is

23 to ‘recognize competition where, in fact, competition exists.’” Id. (quoting Brown Shoe, 370 U.S. at

24 326). By those metrics, the FTC’s proposed markets fail entirely.6

25
   6
     The relevant market has a geographic component, which is where “the defendants compete.” See,
26 e.g., FTC v. CCC Holdings Inc., 605 F. Supp. 2d 26, 37 (D.D.C. 2009); see also FTC v. Sysco Corp.,
   113 F. Supp. 3d 1, 48 (D.D.C. 2015). As will be demonstrated at trial, the FTC also baselessly seeks
27 to limit the relevant geographic market to the United States, when both Microsoft and Activision
   compete in dynamic global markets. See Ex. 3, Bailey Rep. ¶¶ 114–16.
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 1                  1.      Nintendo Switch and PCs Compete With “High-Performance Consoles.”
 2          The FTC offers two unduly narrow proposed definitions of its “high-performance consoles”
 3 market. The FTC primarily proposes that PlayStation and Xbox alone compose the entire console

 4 market and then alternatively adds Nintendo Switch but still excludes PCs. Both Nintendo and PCs

 5 are “economic substitutes,” Newcal Indus., Inc. v. Ikon Office Sol., 513 F.3d 1038, 1045 (9th Cir.

 6 2008), that must be considered in any relevant market.

 7          Nintendo. There is no basis for excluding Nintendo.
 8

 9

10

11                                   By excluding Nintendo, the FTC inflates Xbox’s market share. Ex. 3,
12 Bailey Rep. ¶ 13 ex. 4. It also conveniently excludes a key competitor that has thrived without COD

13 for the past decade.

14          In response, the FTC offers its expert’s ipse dixit that Nintendo’s Switch is so differentiated
15 along price, specifications, and content that it is in a different product category than the other two

16 consoles. To the contrary, Xbox and Sony compete with Nintendo and with each other on all of these

17 features. For example, the entry-level versions of the current Xbox and Nintendo consoles are

18 offered at the same price point ($299.99). Ex. 48, Lee Rep., fig. 14; Ex. 3, Bailey Rep. ¶ 89 & ex. 42.
19 Moreover, while the FTC makes much of Nintendo’s supposed technical differences from the other

20 consoles, it ignores that Xbox and Sony also differentiate their consoles based on performance.8 The

21 substantial overlap in the three consoles’ content libraries further demonstrates that they compete:

22
     7
23     Customer preference likewise demonstrates that Xbox and PlayStation compete with Nintendo
     Switch for customers and playtime. See Ex. 47,                            Ex. 3, Bailey Rep. ¶¶ 85–
24   87.
     8
       Both the Xbox Series S and PlayStation digital edition are offered at lower entry price points in
25   exchange for less advance technological specifications. The Xbox Series S, for example, has less
     GPU processing power, system memory, and internal storage and renders images at a lower
26   resolution than the Xbox Series X. See Ex. 48, Lee Rep.¶ 194 fig. 13. PlayStation, meanwhile,
     currently offers two different versions of the PlayStation 5—one with a Blu-Ray player (Standard)
27   and one without (Digital)—and is anticipated to released further differentiated Pro and Slim models
     in the near future. Exs. 49–50.
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 1 Many of the most popular games on PlayStation and Xbox consoles are also available on Switch. Ex.

 2 3, Bailey Rep. ¶ 88. To the extent there are differences, the FTC fails to show that the difference is

 3 the result of Xbox and PlayStation games not being available on Switch, as opposed to the many

 4 Switch-exclusive titles (such as Mario and Zelda). See, e.g., Ex. 51.

 5            PC Gaming. The FTC is likewise wrong to exclude PC gaming, which offers specifications
 6 and features comparable to or even greater than those offered by consoles. Ex. 3, Bailey Rep. ¶ 21.

 7 There is also substantial catalogue overlap: In 2022, all but one of the top 30 Xbox titles and all but

 8 three of the top 30 PlayStation titles were available on PC. See Ex. 3, Bailey Rep. ¶¶ 22, 91 & exs.

 9 12–13. Indeed, even SIE’s CEO                                                                   .9
10            Finally, even accepting that Nintendo and PC gaming are differentiated from Xbox and
11 PlayStation in certain ways, including with respect to “price, use and qualities,” that does not decide

12 the market definition question. U.S. v. Oracle Corp., 331 F. Supp. 2d 1098, 1131 (N.D. Cal. 2004).

13 That products are differentiated, even in ways that some customers prefer, “do[es] not negate

14 interchangeability,” because the relevant question “is not what solutions the customers would like or

15 prefer,” but instead “what they could do in the event of an anticompetitive price increase.” Id. As

16 just explained, the evidence shows that Xbox, PlayStation, Nintendo, and PCs all serve as substitutes

17 and compete.

18                   2.     Multi-Game Content Library Subscriptions and Cloud Gaming
19                          Subscription Services Are Not Relevant Product Markets.
20            a.     Multi-Game Subscription Services. Subscription services, such as Game Pass or
21 Sony’s PlayStation Plus, are not their own market, but rather an alternative way for consumers to

22 pay for console, PC, or mobile games that are otherwise offered as standalone buy-to-play or free-to-

23 play games. Pistacchio v. Apple Inc., 2021 WL 949422, at *2 (N.D. Cal. 2021) (rejecting “narrowing

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     9
         Ex. 10,
25
                                                                     . The only evidence the FTC cites
26 to support its position that PCs “are not commercially reasonable alternatives” is testimony from one
   Microsoft executive in an unrelated case that “she does not ‘view the Xbox console as a replacement
27 or substitute for the iPhone or iPad.’” FTC Br. 13 (emphasis added). But the iPhone and iPad are
   both mobile devices, not gaming PCs.
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 1 and that the merger will result in a substantial lessening of competition. Nielsen Holdings, N.V. &

 2 Arbitron Inc., FTC File No. 131-0058, at 2–3; see also, e.g., FTC v. Facebook, Inc., 560 F. Supp. 3d

 3 1, 4 (D.D.C. 2021) (rejecting reliance on a future market as “too speculative and conclusory”).

 4           The FTC cannot make those showings. As noted, Sony Group’s CEO recently acknowledged
 5 the financial and technical difficulties cloud gaming faces. Ex. 56. And even if the FTC had

 6 evidence of what this segment would look like in the future, it is wholly speculative that Xbox would

 7 participate in it in a meaningful way,

 8

 9

10           B.     The FTC Cannot Show that the Merger Will Result in Vertical Foreclosure in
11                  the Console or Gaming Services Markets.
12           The FTC alleges a single theory of harm: vertical foreclosure. Courts appropriately place a
13 heavy burden on the government in vertical merger cases because “[v]ertical mergers often generate

14 efficiencies and other procompetitive effects.” U.S. v. AT&T Inc., 310 F. Supp. 3d 161, 197 (D.D.C.

15 2018); see also Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust

16 Principles and Their Application, ¶ 755c (online ed. Aug. 2022) (“Vertical integration is ubiquitous

17 in our economy and virtually never poses a threat to competition when undertaken unilaterally and in

18 competitive markets.”). These considerations apply with particular force here as the merger will
19 make Activision’s games more accessible to consumers.

20           The FTC’s central claim is that the combined firm would withhold certain Activision
21 content—in particular, COD—from Sony, the longtime market leader. In citing such “foreclosure”

22 as its basis for opposing this transaction, the FTC must prove, among other things, (1) that the

23 combined company would have the incentive to withhold COD from rivals to whom an independent

24 Activision would otherwise sell COD (i.e., that doing so would be profitable despite the forgone

25 Activision sales), (2) that it has the ability to foreclose (i.e., that rivals cannot effectively compete

26 without COD and could not offset any harm through a competitive response), and (3) that
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 1 competition (as opposed to individual competitors) would likely be harmed. See UnitedHealth, 2022

 2 WL 4365867, at *25–27. The FTC cannot make these showings.

 3                  1.     The FTC Cannot Show a Substantial Likelihood of Harm in the Gaming
 4                         Console Market.
 5          No incentive. This element is simple. Microsoft has committed not to withhold from anyone
 6 by signing binding contracts to bring COD on nondiscriminatory terms to Nintendo and multiple

 7 different cloud gaming providers. The FTC must account for these economic realities in trying to

 8 meet its burden, rather than relying on “assumptions and simplifications that are not supported by

 9 real-world” facts, Am. Booksellers Ass’n v. Barnes & Noble, Inc., 135 F. Supp. 2d 1031, 1041 (N.D.

10 Cal. 2001), and that ignore “economic reality,” Craftsmen Limousine, Inc. v. Ford Motor Co., 363

11 F.3d 761, 777 (8th Cir. 2004). The government fails to do so.

12          As further proof of its lack of incentive, Microsoft has offered to provide Activision content
13 to Sony for the next ten years. Ex. 57.

14

15

16            The only plausible reason why Sony has declined to sign is not because it fears
17 “foreclosure” (which it could prevent with the stroke of a pen), but because it believes this

18 transaction will make third-place Xbox a more effective competitor. Sony is presumably worried that
19 putting Activision games in Game Pass “day and date” will increase consumer interest in

20 subscription services—a business model Sony believes is less profitable than making consumers pay

21 $70 for each new release. But that belief is a reason to approve this deal because the antitrust laws

22 “were enacted for the protection of competition not competitors.” Brunswick Corp. v. Pueblo Bowl-

23 O-Mat, Inc., 429 U.S. 477, 488 (1977). The antitrust laws do not protect a dominant firm’s profit

24 margin.

25          Even setting aside the offer, withholding COD would harm Xbox economically. See Sewell
26 Plastics, Inc. v. Coca-Cola Co., 720 F. Supp. 1196, 1216–17 (W.D.N.C. 1989) (rejecting antitrust
27 claim where defendants had no “economic incentive” to “lock out existing suppliers” and “raise the

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 1 cost of an input”). Xbox would be losing COD revenues on the largest console provider, Sony. Ex.

 2 58, Carlton Rep. ¶ 11. Those revenues were critical to the price Microsoft paid for Activision, the

 3 Board’s evaluation of the transaction, and the financial targets to which Xbox is held accountable.

 4 Ex. 2; Ex. 68, J

 5          Withholding would cause even greater harm by degrading the game and infuriating gamers.
 6 A significant appeal of COD is that it is a multi-player game oft-played by groups across different

 7 platforms, including PlayStation (known as cross-play). Ex. 58, Carlton Rep., at 6; Ex. 8, A. Zerza

 8 Dep. 39:8-39:20; Ex. 69, C. Schnakenberg Dep. 143:22-144:5. Having a broad community of

 9 gamers ensures players can easily find groups of comparable skill levels, making the game fun.

10 Removing COD from PlayStation would dramatically shrink the community, making the gaming

11 experience worse for anyone left. Ex. 58, Carlton Rep. ¶ 14.

12          Microsoft’s acquisition of Mojang’s Minecraft franchise in 2014 illustrates why all of these
13 incentives cut against withholding. Id. ¶ 15. Like COD, Minecraft is a popular franchise with

14 substantial cross-platform play. Under the reasoning advanced by the FTC, Xbox would have had

15 incentives to make Minecraft exclusive to its Xbox. Id. It did not, and has not since. On the contrary,

16 Xbox has expanded access to the game, and continues to release new editions available on

17 PlayStation. Id. Indeed, Defendants are not aware of any situation where a publisher has chosen to

18 take exclusive an existing game franchise that is multi-player and offers cross-platform play. Id.
19 ¶¶ 14–15. There is no reason to believe this would be the first.

20          The government’s two responses to this straightforward logic are unavailing. The FTC
21 primarily relies on its expert, Dr. Lee,

22

23

24

25                                     Ex. 48, Lee Rep., at 148. Dr. Lee initially tried to justify this
26 prediction with his                 , id., but Defendants’ expert Dr. Carlton demonstrated that it had
27 serious conceptual flaws Ex. 58, Carlton Rep., at Section IV.A. Dr. Lee then pivoted to saying that

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 1 his

 2                                            . Ex. 63, Lee Rebuttal, at 6. Even assuming that is a proper
 3 role for an expert (which it is not), the sources do not support his conclusion. And Dr. Carlton

 4 further shows that Dr. Lee’s

 5                                                                                        . Ex. 58,
 6 Carlton Rep., at Section IV.B.6. Ultimately, Lee’s analysis provides no basis to disregard the real

 7 world, where Sony has a favorable offer for COD, Xbox has made plain that it wants to provide

 8 COD to Sony (and in fact needs to continue to sell to Sony), and regulators around the world all

 9 agree that withholding COD from Sony would be unprofitable and is thus not a serious concern.

10          The FTC’s strained analogy to Microsoft’s acquisition of ZeniMax, a fundamentally different
11 game developer, likewise fails to establish that COD would become exclusive. The first two

12 ZeniMax games Xbox released post-acquisition (Deathloop and Ghostwire) were exclusives for

13 Sony,

14

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17                                                                    The ZeniMax story thus says
18 nothing about what Xbox would do with an existing, multi-player, cross-platform franchise like
19 COD—the relevant analogy there is Minecraft.12

20          No ability. There is likewise no reason to think Xbox could foreclose PlayStation by
21 withholding

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24   12
     In drawing its analogy to Zenimax, the FTC wrongly implies that Xbox misled the European
   Commission about its intent regarding future Zenimax titles. The European Commission took the
25 extraordinary step of responding directly when the FTC made this claim in its administrative
   complaint, by stating publicly that Microsoft did not make any “commitments” to the European
26 Commission, nor did the European Commission “rely on any statements made by Microsoft about
   the future distribution strategy concerning ZeniMax’s games.” Instead, the European Commission
27 cleared the transaction “unconditionally as it concluded that the transaction would not raise
   competition concerns.” Ex. 61.
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 1                                    Ex. 3, Bailey Rep. ¶ 15. If any such shift occurred between Xbox
 2 and PlayStation, that would serve only to make the console market less concentrated and more

 3 competitive. But the existence of such an extreme shift is implausible: Nintendo outcompetes Xbox

 4 even though it does not currently have access to COD. Id. ¶ 14. Likewise, Steam, the leading PC

 5 game store, has also risen in popularity without COD. Id. ¶ 55 & ex. 35. That is no doubt why the

 6 FTC tries to exclude Nintendo and PC from the console market—they are proof that COD is not

 7 essential to competition.

 8          Moreover, any claim that Xbox could foreclose PlayStation would need to take account of
 9 Sony’s ability to respond competitively. See Fruehauf Corp. v. FTC, 603 F.2d 345, 352 n.9 (2d Cir.

10 1979) (requiring assessment of competitive response). The myriad options available to Sony are fatal

11 to the FTC’s case. Sony could lower prices or improve the quality of its console. It could invest in

12 other first-party or third-party games, as it recently did with Bungie in a deal the FTC quickly

13 cleared. Ex. 62. Or, as Sony’s CEO told investors in the wake of news of Microsoft’s acquisition of

14 Activision, it could “grow [Sony’s] own studios organically” to increase Sony’s own value

15 proposition to consumers. Ex. 67. These likely competitive responses are integral to antitrust

16 analysis, but the FTC simply ignores them. See Barry Wright Corp. v. ITT Grinnell Corp., 724 F.2d

17 227, 232 (1st Cir. 1983) (Breyer, J.) (the “long term effects” of any proposed merger will “depend in

18 large measure on competitors’ responses.”); Paddock Publ’ns, Inc. v. Chi. Trib. Co., 103 F.3d 42, 44
19 (7th Cir. 1996) (rejecting challenge to exclusivity agreement between incumbent newspaper and

20 content creators because any rival newspaper “deprived of access” even to the “best known” content

21 can compete on the basis of alternative content).

22          No harm to competition. In any event, even if Microsoft could be expected to make COD
23 exclusive, the FTC has not shown harm to competition. The entirety of the FTC’s analysis is Dr.

24 Lee’s assertion that

25

26
27                                            That is not the law. See Fruehauf, 603 F.2d at 352 n.9
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 1 (rejecting the proposition that foreclosing a competitor from a previously available input is sufficient

 2 to demonstrate a lessening of competition). Exclusivity arrangements (whether from contract or

 3 vertical integration) are ubiquitous throughout the economy and are usually procompetitive. See,

 4 e.g., Roland Mach. Co. v. Dresser Indus., Inc., 749 F.2d 380, 395 (7th Cir. 1984). Indeed, both Sony

 5 and Nintendo have entered into a wide range of exclusivity arrangements of their own with various

 6 game publishers, and each has far more exclusive gaming content than Xbox does. Ex. 58, Carlton

 7 Rep. ¶ 20 & n.51; see also id. ¶ 11. Dr. Lee himself has recognized in his prior academic work about

 8 gaming that such arrangements can be procompetitive. Ex. 58, Carlton Rep. ¶ 11 n.22 (citing Dr.

 9 Lee’s academic work); id. ¶ 20.

10          This transaction also does not exhibit, and the FTC’s motion does not address, any of the
11 special features that have led courts in unusual cases to conclude that vertical integration will give

12 rise to anticompetitive outcomes. In particular, COD is not a “necessary input” for Xbox rivals, see

13 Sprint Nextel Corp. v. AT&T Inc., 821 F. Supp. 2d 308, 330 (D.D.C. 2011), and any “foreclosure”

14 percentages would be far too small to warrant any presumption of competitive harm.13 Tellingly, Dr.

15 Lee never seeks to show that competition would be harmed such that Xbox would be able to raise

16 console (or game) prices. See Alberta Gas Chems. Ltd. v. E.I. Du Pont De Nemours & Co., 826 F.2d

17 1235, 1244–46 (3d Cir. 1987) (“foreclosure” concerns are only raised where withholding of inputs

18 would result in “post-merger market power”); cf. Ex. 58, Carlton Rep. ¶ 140.
19          In short, the FTC cannot show what it must to justify blocking this vertical transaction: that
20 the supposed withholding of COD would make the combined company’s rivals ineffective as

21 competitors. See McWane, Inc. v. FTC, 783 F.3d 814, 838–39 (11th Cir. 2015) (vertical integration

22 is generally found to raise antitrust concerns only where it leaves rivals “stunted” as competitors and

23 materially impairs their ability to discipline the defendant’s prices); U.S. v. Microsoft Corp., 253

24 F.3d 34, 71 (D.C. Cir. 2001) (issue is whether exclusive dealing keeps competitors “below the

25
   13
      Even if, counterfactually, Xbox had the incentive to withhold all of Activision’s content, that
26 would be a modest share of the console game publishing by any measure—                       Ex. 3,
   Bailey Rep. ¶¶ 28, 31. Such a “foreclosure percentage” would be far smaller than the level (30–50%)
27 needed to raise any presumption of anticompetitive effect even if Xbox were a platform monopolist.
   See Microsoft, 253 F.3d at 70; Fruehauf, 603 F.2d at 352–54.
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 1 critical level necessary … to pose a real threat” to defendant’s market power); Fruehauf, 603 F.2d at

 2 352 n.9 (discussing Brown Shoe and DuPont and concluding that “we are unwilling to assume that

 3 any vertical foreclosure lessens competition.”).

 4          Finally, the FTC ignores critical variables in the economic analysis by disregarding the new
 5 options the merger will create for playing Activision content. “[I]ncrease[ed] output” is a clear

 6 “indicator[] of a merger’s competitive impact.” In re AMR Corp., 625 B.R. 215, 255 (Bankr.

 7 S.D.N.Y. 2021), aff’d, 2023 WL 2563897 (2d Cir. 2023); see also Ohio v. Am. Express Co., 138 S.

 8 Ct. 2274, 2289 (2018) (practices that “expand[] output and improv[e] quality” are procompetitive).

 9          Here, the acquisition would benefit consumers by making COD available on Microsoft’s
10 Game Pass on the day it is released on console (with no price increase for the service based on the

11 acquisition), on Nintendo, and on other services that allow cloud streaming. Ex. 58, Carlton Rep.

12 ¶¶ 45,140. Activision has historically refused to provide this type of access to COD,

13

14                        These clear consumer benefits likewise eviscerate the FTC’s case.
15                  2.     The FTC Cannot Show a Substantial Likelihood of Harm in the Putative
16                         “Content Library” and “Cloud Gaming” Services Markets.
17          With respect to the console market, the FTC at least purports to offer a quantitative
18 analysis—however flawed—of likely foreclosure effects. But it makes no such pretense when it
19 turns to the putative markets for “content library” and “cloud gaming” subscription services. Even if

20 these gaming features were (wrongly) considered separate “markets,” the FTC’s claims regarding

21 “content-library” and “cloud gaming” services would fail. Indeed, the FTC does not even allege, let

22 alone substantiate, any allegation that the merger will likely cause the withholding of content that

23 Activision would otherwise provide to third-party content-library or cloud-gaming providers.

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 1          As a threshold matter, the FTC misconceives the law. Even accepting the government’s
 2 framing of the standard,15 the question is whether this “merger will likely lead to a substantial

 3 lessening of competition,” Oracle Corp., 331 F. Supp. 2d at 1109—i.e., whether the world with this

 4 merger is “likely” to be substantially less competitive than the but-for world without it. See AT&T,

 5 916 F.3d at 1032. The FTC does not even purport to make that showing as to content-library

 6 subscription services and cloud gaming subscription services. Instead, Dr. Lee contends that he need

 7 only show that

 8                                                                                  Ex. 63, Lee Rebuttal
 9 ¶ 39; see also id. ¶¶ 44, 48. But that is not enough under the law—

10

11                                        See AT&T, 310 F. Supp. 3d at 246–47 (rejecting claim of
12 increased coordination risk given the Government expert’s concession “that he was not in a position

13 to say that coordination is more likely to happen than not”) (cleaned up).

14                            , Ex. 63, Lee Rebuttal ¶ 48 & n.389, which dooms the government’s case
15 here, just as it did in AT&T. See 310 F. Supp. 3d at 246–47.

16          More generally, to carry its burden as to the content-library and cloud-gaming “markets,” the
17 FTC must prove that all of the following claims are likely true. In fact, none is true.

18          First, the FTC must prove that, but for this merger, Activision would allow COD to be
19 included in third-party content-library or cloud-gaming services.

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        A plain-meaning interpretation of Section 7 precludes liability for the simple reason that
     Activision does not make COD available to content-library or cloud-gaming providers today; thus,
24   continued withholding could not constitute a “substantial lessening” of competition. U.S. v. Falstaff
     Brewing Corp., 410 U.S. 526, 537 (1973) (“[w]e leave for another day the question of the
25   applicability of § 7 to a merger that will leave competition in the marketplace exactly as it was” but
     will nonetheless result in “less competition than there would have been” in the but-for world); U.S.
26   v. Marine Bancorp., Inc., 418 U.S. 602, 639 (1974) (continuing to “express no view on the
     appropriate resolution of the question reserved in Falstaff ”). As discussed in the text, the FTC’s
27   alternative-market theories of harm fail even if the relevant Section 7 comparison is between future
     but-for and with-merger worlds.
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 2                                                                                        This merger
 3 could only increase access to COD on these services, to the benefit of consumers—as cloud provider

 4 Nvidia agrees. Ex. 64.

 5          Second, the FTC must then prove that the post-merger combined company would likely
 6 withhold COD from subscription and cloud gaming services. Again, however, the FTC does not

 7 even try to make that showing, nor could it—particularly in light of the binding contracts Microsoft

 8 has already struck with Nvidia and other cloud providers.

 9          Third, the FTC must additionally prove that any post-merger withholding would substantially
10 lessen competition. It cannot do so because exclusivity arrangements are ubiquitous; Sony and

11 Nintendo already use them more than Microsoft does; and, as discussed above, they raise no

12 competitive concerns except in narrow circumstances involving substantial market power and large

13 foreclosure percentages, neither of which is present here. See, e.g., McWane, 783 F.3d at 838–39;

14 Microsoft, 253 F.3d at 71; Alberta Gas, 826 F.2d at 1244–46.

15          Fourth, as to the cloud-gaming “market,” the FTC must prove that cloud gaming will
16 develop in the near-to-intermediate term as a genuine alternative to consoles or performance PCs, in

17 particular for multi-player, fast-twitch, graphics-intensive games such as COD.

18
19                       The FTC can show no such thing. As Sony admits, network engineers are
20 nowhere close to solving the immense technological challenges presented by that cloud game-play

21 model, e.g., Exs. 65–66, which is one of the reasons why Activision refuses to make COD available

22 for cloud gaming. And there is no basis for blocking a merger based on speculation about harm to

23 non-existent markets that are unlikely to materialize anytime in the foreseeable future. See

24 Facebook, 560 F. Supp. 3d at 4.

25          Fifth, if the FTC could establish that a cloud-gaming market will develop, it would also have
26 to show that Xbox will be a major player in it; otherwise, it would have no cloud-gaming business to
27 promote through exclusivity arrangements. The FTC cannot substantiate that speculation either.

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 1          In addition, granting a preliminary injunction would kill the deal, robbing consumers of the
 2 “beneficial economic effects and procompetitive advantages” resulting from this merger, including

 3 increased availability of Activision content. FTC v. Pharmtech Rsch., Inc., 576 F. Supp. 294, 299

 4 (D.D.C. 1983); see also Warner, 742 F.2d at 1165. By contrast, there is no risk that consumers

 5 would be injured while the administrative process runs its course—Sony’s existing contract for COD

 6 runs through 2024 and it has an offer for much longer access.

 7                                             CONCLUSION
 8          For the foregoing reasons, Microsoft respectfully requests that the Court deny the FTC’s
 9 motion for a preliminary injunction.

10

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